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              BEFORE THE UNITED STATES JUDICIAL PANEL ON
                      MULTI-DISTRICT LITIGATION


                                                   MDL No.
In re: American Medical Collection Agency
Data Breach Litigation




         MEMORANDUM OF LAW IN SUPPORT OF MOTION OF PLAINTIFF
           PAULA WORTHEY FOR TRANSFER AND CENTRALIZATION
                      PURSUANT TO 28 U.S.C. § 1407

        Pursuant to 28 U.S.C. § 1407 and the Rules of Procedure of the Judicial Panel on

Multidistrict Litigation, Plaintiff Paula Worthey (“Plaintiff”) respectfully submits this

Memorandum of Law in Support of her Motion for Transfer and Centralization of all currently

filed federal cases (“Actions”) arising out of the Data Breach at issue, and any subsequent “tag

along” cases involving similar claims, to the Southern District of New York, before the Honorable

Nelson S. Roman.

   I.      INTRODUCTION

        This litigation involves a common data breach announced on or around June 3, 2019 (the

“Data Breach”). Plaintiffs in these related cases allege that Defendants American Medical

Collection Agency, Inc. (“AMCA”), Optum360 Services, Inc. (“Optum360”), and Quest

Diagnostics Incorporated (“Quest”) (collectively, “Defendants”) failed to protect the confidential

information of millions of patients — including their financial information (e.g., credit card

numbers and bank account information), medical information, personal information (e.g., Social

Security Numbers), and other protected health information as defined by the Health Insurance

Portability and Accountability Act of 1996 (“HIPAA”) (collectively, “Sensitive Information”).
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       On June 3, 2019, Quest publicly admitted in a filing with the Securities and Exchange

Commission (“SEC”) that: “On May 14, 2019, American Medical Collection Agency (“AMCA”),

a billing collections vendor, notified Quest . . . and Optum360 LLC, [Quest’s] revenue cycle

management provider,” of the massive Data Breach compromising the Sensitive Information of

11.9 million Quest patients, and most likely others (the “Data Breach”). Quest Form 8-K, June 3,

2019. Quest’s SEC filing further disclosed that, “between August 1, 2018 and March 30, 2019 an

unauthorized user had access to AMCA’s system that contained information that AMCA had

received from various entities, including Quest Diagnostics, and information that AMCA collected

itself[,] . . . include[ing] financial information (e.g., credit card numbers and bank account

information), medical information[,] and other personal information (e.g., Social Security

Numbers).” Although Quest knew of the Data Breach at least as of May 14, 2019, and AMCA

knew of it even earlier, neither took any steps to notify patients whose information was affected

until June 3, 2019, at which point Quest only did so through an SEC filing.

       Each of the Actions is a putative class action, and each is filed on behalf of a virtually

identical nationwide class and California sub-class. See Worthey v. American Medical Collection

Agency, Inc. et al., Case No. 7:19-cv-05210 (S.D.N.Y.), Complaint ¶ 29; Gutierrez v. Am. Medical

Collection Agency, Inc., et al., Case No. 7:19-cv-05212 (S.D.N.Y.), Complaint ¶ 29; and Marler

v. Quest Diagnostics, Inc., et al., Case No. 8:19-cv-01091 (C.D. Cal.), Complaint ¶¶ 64-65. As

previously discussed, each action alleges a common failure to protect Plaintiffs’ Sensitive

Information resulting in the Data Breach announced by Quest on or around June 3, 2019.

       Plaintiff is not aware of any other cases being filed on behalf of similarly situated

consumers. However, based on the scope of the announced Data Breach, Plaintiff does anticipate




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additional cases will be filed nationwide. All such Actions are in their infancy. None of the

Defendants have answered the Complaint or otherwise appeared in the Actions.

            Based on the numerous common questions of fact involved in the Actions, the compelling

need to establish uniform and consistent standards in conducting pretrial discovery and motion

practice, and because the most logical and convenient location for these proceedings is the

Southern District of New York, Plaintiff respectfully requests coordinated proceedings there.

      II.        BACKGROUND

            This motion for transfer involves three actions pending in two different federal Districts 1

asserting common factual allegation and involving overlapping claims, classes, and legal issues.

Based on the extensive press coverage of the Data Breach, Plaintiff expects additional actions to

be filed in the federal courts alleging similar claims, on behalf of similar classes.

            A.     Plaintiffs

            All plaintiffs in the pending Actions have filed civil actions arising from Quest’s recent

disclosure of a massive breach affecting AMCA’s systems that compromised the Sensitive

Information of at least 11.9 million Quest patients. The Actions are pursued on behalf of all

persons whose Sensitive Information was compromised in the Data Breach.

            Each of these pending federal cases presents a common core of facts, in that each (i) alleges

that plaintiffs’ Sensitive Information was disclosed during the Data Breach; (ii) asserts injury and

damages arising from Defendants’ wrongful conduct; and (iii) alleges the same or similar conduct

by Defendants. Indeed, the factual allegations in plaintiffs’ complaints are nearly identical in

numerous critical respects.




1   See Schedule of Actions, attached, for a complete listing of the Actions.


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          B.     Defendants

          Defendant AMCA is a New York corporation with its principal place of business in

Elmsford, New York, in the Southern District of New York. Defendant Quest is a Delaware

corporation with its principal place of business in Secaucus, New Jersey. Based on information

and belief, Defendant Optum360 is a Delaware corporation with its principal place of business in

Eden Praire, Minnesota.

          C.     Status of the Actions

          Plaintiffs filed the pending federal actions in New York and California, on the same day as

Quest’s announcement of the Data Breach. Given the infancy of these cases, none of the plaintiffs

have been permitted to conduct discovery, or any other actions that would move the matters along

towards trial such that transfer would be unduly prejudicial or inefficient. These Actions are in

the earliest procedural stage — no defendant has answered or otherwise appeared — and,

accordingly, it is a convenient time to coordinate the Actions.

   III.        ARGUMENT

          The Actions listed in the attached Schedule of Actions name AMCA, Optum360, and

Quest as the only three Defendants. There also is substantial overlap between the causes of

action: Each case includes causes of action for: negligence; breach of implied contract; violation

of California’s Confidential Medical Information Act, Cal. Civ. Code §§ 56 et seq.; violation of

the New York General Business Law § 349; violation of California’s Unfair Competition Law,

Cal. Bus. & Prof. Code § 17200 et seq.; and violation of California’s Customer Records Act, Cal.

Civ. Code §§ 1798.81 et seq. The Marler action includes those claims, as well as claims for

breach of contract; violation of California’s Consumers Legal Remedies Act, Cal. Civ. Code

§ 1750 et seq.; unjust enrichment; and invasion of privacy claims.




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       The Actions all involve common issues of fact and a common Data Breach, such that

centralization will promote the convenience of the parties and witnesses and the just and efficient

conduct of the litigation. See 28 U.S.C. § 1407. Transfer and centralization will mitigate the

possibility of inconsistent rulings, including rulings regarding class certification, and will

promote judicial economy by providing a single forum to which future tag-along actions can be

transferred. Accordingly, Plaintiff respectfully moves this Panel for transfer to the Southern

District of New York, the most favorable district for centralization, before Judge Roman, a

capable and experienced jurist of the highest caliber.

   A. These Actions and any Tag-Along Actions Are Appropriate for Transfer and
      Centralization Under 28 U.S.C. § 1407(A)

       Transfer and centralization is permitted if civil actions pending in different districts

“involv[e] one or more common questions of fact” and this Panel determines that transfer will

further “the convenience of parties and witnesses and will promote the just and efficient conduct

of such actions.” 28 U.S.C. § 1407(a). “The objective of transfer is to eliminate duplication in

discovery, avoid conflicting rulings and schedules, reduce litigation cost, and save the time and

effort of the parties, the attorneys, the witnesses, and the courts.” Manual for Complex Litigation,

§ 20.131 (4th ed. 2004). Transfer and centralization for pretrial proceedings would achieve those

objectives in the instant litigation, and therefore are appropriate here.

       i. The Actions Involve Common, Numerous, and Complex Questions of Fact

       The first element of the Section 1407 transfer analysis is whether there are one or more

common questions of fact. See 28 U.S.C. § 1407. The statute, however, does not require a

“complete identity or even [a] majority” of common questions of fact to justify transfer. In re

Zyprexa Prods. Liab. Litig., 314 F. Supp. 2d 1380, 1381 (J.P.M.L. 2004).




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       Here, there is no question that these cases share a common core of operative factual

allegations. The Actions are based upon identical facts concerning identical conduct by

Defendants. The factual questions common to the actions are numerous and complex, including:

       •   Whether Defendants’ data security systems prior to the Data Breach met the
           requirements of laws including, for instance, HIPAA;

       •   Whether Defendants’ data security systems prior to the Data Breach met industry
           standards;

       •   Whether Plaintiff’s and other Class members’ Sensitive Information was
           compromised in the Data Breach; and

       •   Whether Plaintiff’s and other Class members are entitled to damages as a result of
           Defendants’ conduct.

       In addition, both actions rely upon similar legal theories of recovery. These theories

include: negligence; breach of implied contract; violation of California’s Confidential Medical

Information Act, Cal. Civ. Code §§ 56 et seq.; violation of the New York General Business

Law § 349; violation of California’s Unfair Competition Law, Cal. Bus. & Prof. Code § 17200

et seq.; and violation of California’s Customer Records Act, Cal. Civ. Code §§ 1798.81 et seq.

Thus, the lawsuits share related underlying legal theories of liability, each turning on the

failure of Defendants to prevent the Data Breach. As the Panel previously has stated, “the

presence of additional or differing legal theories is not significant when the actions still arise

from a common factual core . . . .” In re Oxycontin Antitrust Litig., 542 F. Supp. 2d 1359,

1360 (J.P.M.L. 2008).

       Because numerous common issues of fact exist among these Actions, the pending

actions clearly satisfy the first element of the transfer analysis under Section 1407.




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       ii. MDL Transfer and Centralization Will Further the Convenience of the Parties
           and the Witnesses.

       Resolution of these common issues in a single forum would further the convenience of all

parties and witnesses. See 28 U.S.C. § 1407(a). Because all Actions involve similar allegations

and factual questions, the plaintiffs in the actions will require depositions of the same persons and

discovery of the same documents. Defendants likely will raise the same discovery objections and

seek the same protective orders or privileges in each case. Absent centralization and transfer, all

parties will be subjected to duplicative discovery and witnesses will face multiple, redundant

depositions. See, e.g., In re Pilot Flying J Fuel Rebate Contract Litigation (No. 11), 11 F. Supp.

3d 1351, 1352 (J.P.M.L. 2014) (“Centralization will avoid repetitive depositions of [the

defendant’s] officers and employees and duplicative document discovery regarding the alleged

scheme”); In re Uranium Indus. Antitrust Litig., 458 F. Supp. 1223, 1230 (J.P.M.L. 1978)

(“[Plaintiffs] will have to depose many of the same witnesses, examine many of the same

documents, and make many similar pretrial motions in order to prove their . . . allegations. The

benefits of having a single judge supervise this pretrial activity are obvious.”).

       Absent transfer, the federal court system will be forced to administer — and Defendants

will be compelled to defend — these related actions across multiple venues, all proceeding on

potentially different pretrial schedules and subject to different judicial decision-making and

local procedural requirements. Moreover, each plaintiff will be required to monitor and

possibly participate in each of the other similar actions to ensure that Defendants do not

provide inconsistent or misleading information. Many of the same pretrial disputes are likely to

arise in each action. Likewise, due to the similar causes of action in each complaint, Defendants

will likely assert the same defenses, as well as file motions to dismiss and summary judgment on

the same claims based on the same arguments in each action.



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       None of the pending cases have progressed to the point where efficiencies will be

forfeited through transfer to an MDL proceeding. This Panel has routinely recognized that

consolidating litigation in one court benefits both plaintiffs and defendants. For example,

pretrial transfer would reduce discovery delays and costs for plaintiffs, and permit plaintiffs’

counsel to coordinate their efforts and share the pretrial workload. In re Phenylpropanolamine

(PPA) Prods. Liab. Litig., 173 F. Supp. 2d 1377, 1379 (2001) (“And it is most logical to

assume that prudent counsel will combine their forces and apportion their workload in order to

streamline the efforts of the parties and witnesses, their counsel and the judiciary, thereby

effectuating an overall savings of cost and a minimum of inconvenience to all concerned.”); In

re Baldwin-United Corp. Litigation, 581 F. Supp. 739, 741 (J.P.M.L. 1984) (same). As for

Defendants, national or “generic” expert depositions will be coordinated, document production

will be centralized, and travel for its current and former employees will be minimized, since it

will only have to appear in one location rather than multiple districts around the country.

       While Plaintiff anticipates there will be additional case filings, even the current level of

litigation would benefit from transfer and coordinated proceedings, given the allegations of

these complaints. See In re First Nat’l Collection Bureau, Inc., Tel. Consumer Prof. Act

(TCPA) Litig., 11 F. Supp. 3d 1353, 1354 (J.P.M.L. 2014) (“Although there are relatively few

parties and actions at present, efficiencies can be gained from having these actions proceed in a

single district,” such as “eliminat[ing] duplicative discovery; prevent[ing] inconsistent pretrial

rulings . . . and conserv[ing] the resources of the parties, their counsel and the judiciary.”); In

re: Zurn Pex Plumbing Products Liability Litig., 572 F.Supp.2d 1380, 1381 (J.P.M.L. 2008)

(granting transfer and consolidation of three cases and six potential tag-alongs because of the




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“overlapping and, often, nearly identical factual allegations that will likely require duplicative

discovery and motion practice).

         Transfer also will reduce the burden on the parties by allowing more efficient and

centralized divisions of workload among the attorneys already involved in this litigation, as

well as those who join later. Plaintiffs themselves will reap efficiencies from being able to

divide up the management and conduct of the litigation as part of a unified MDL process

through a plaintiffs’ steering committee or similar mechanism, instead of each plaintiffs’ firm

separately litigating its own cases on distinct and parallel tracks. In re Phenylpropanolamine

(PPA) Prods. Liab. Litig., 173 F. Supp. 2d at 1379; In re Tylenol Mktg., Sales Pracs. and

Prods. Liab. Litig., 936 F. Supp. 2d at 1379 (“Centralization will ... conserve the resources of

the parties, their counsel, and the judiciary.”).

         In sum, transfer of these actions would serve the convenience of the parties and

eliminate duplicative discovery, saving the parties-and the courts significant time, effort, and

money.

   B. Transfer and centralization Will Promote the Just and Efficient Conduct of These
      Actions

         Centralization is necessary to prevent inconsistent pretrial rulings on many central issues,

which would present significant problems due to the substantial consistency in factual and legal

allegations among all Actions. See In re: Lumber Liquidators Chinese-Manufactured Flooring

Products Mktg., Sales Practices and Products Liability Litig., 109 F. Supp. 3d at 1383

(“Centralization will . . . avoid inconsistent pretrial rulings (including on issues of class

certification and Daubert motion practice) . . . .”).

         The prospect of inconsistent rulings also encourages forum and judge shopping

(including, for example, manipulation of non-congruent discovery limits, approaches to



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electronically stored information, and protective order issues). By contrast, a single MDL

judge coordinating pretrial discovery and ruling on pretrial motions in all of these federal cases

at once will help reduce witness inconvenience, the cumulative burden on the courts, and the

litigation’s overall expense, as well as minimizing this potential for conflicting rulings. In re:

Xarelto (Rivaroxaban) Prods. Liab. Litig., 65 F. Supp. 3d 1402, 1405 (J.P.M.L. 2014) (“Issues

concerning the development, manufacture, regulatory approval, labeling, and marketing of

Xarelto thus are common to all actions. Centralization will eliminate duplicative discovery;

prevent inconsistent pretrial rulings; and conserve the resources of the parties, their counsel

and the judiciary.”); In re Tylenol Mktg., Sales Pracs. and Prods. Liab. Litig., 936 F. Supp. 2d

at 1379 (“Centralization will ... prevent inconsistent pretrial rulings (on Daubert issues and

other matters)....”).

        Centralization will mitigate these problems by enabling a single judge to manage discovery

and the parties to coordinate their efforts.      This will reduce litigation costs and minimize

inconvenience to the parties and witnesses, to the benefit of litigants, third parties, and the courts.

See In re Enfamil Lipil Mktg. and Sales Practices Litig., 764 F. Supp. 2d 1356, 1357 (J.P.M.L.

2011) (“Centralizing the actions will allow for the efficient resolution of common issues and

prevent unnecessary or duplicative pretrial burdens from being placed on the common parties and

witnesses.”); In re: Lumber Liquidators Chinese-Manufactured Flooring Products Mktg., Sales

Practices and Products Liability Litig., 109 F. Supp. 3d at 1383 (“Centralization will . . . conserve

the resources of the parties, their counsel and the judiciary.”).

        Centralizing these actions under Section 1407 will ensure streamlined resolution of this

litigation to the overall benefit of the parties and the judiciary. In re Amoxicillin Patent &

Antitrust Litig., 449 F. Supp. 601, 603 (J.P.M.L. 1978) (granting transfer and consolidation of




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three cases “[b]ecause of the presence of complex factual questions and the strong likelihood

that discovery concerning these questions will be both complicated and time-consuming, we

rule that transfer under Section 1407 is appropriate at the present time even though only three

actions are presently involved”).

       Accordingly, transfer to a single district court is appropriate for the just and efficient

resolution of these cases.


   C. The Southern District of New York Is an Appropriate and Optimal Transferree
      Forum, and Judge Roman Is an Appropriate Transferee Judge

       Plaintiffs respectfully submit that the Southern District of New York is the superior forum

for the centralized action, and Judge Roman the ideal transferee judge. In choosing an appropriate

transferee forum, this Panel considers: (1) where the largest number of cases is pending; (2) where

discovery has occurred; (3) where cases have progressed furthest; (4) the site of the occurrence of

the common facts; (5) where the cost and inconvenience will be minimized; and (6) the experience,

skill, and caseloads of available judges. Manual for Complex Litigation, § 20.132 (4th ed. 2004).

While several of these criteria are not yet implicated due to the infancy of the Actions, the Judge

Roman, in the Southern District of New York, presents the most appropriate forum for the transfer

and centralization of these actions, primarily because it has a judiciary well experienced, is where

two of the three currently pending Actions were filed, and is where Defendants AMCA and Quest

are headquartered.

       The first factor favors the Southern District of New York, given that two of the three current

actions are pending there. The second and third factors are not relevant here because discovery

has not yet occurred in any case, and none of the Defendants have answered the Complaints or

otherwise appeared.




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       As to the fourth factor, Defendant AMCA is a New York corporation with its principal

place of business in Elmsford, New York. The Data Breach at issue occurred after an unauthorized

user gained access to AMCA’s system that contained information that AMCA had received from

various entities. AMCA was the first of the Defendants to learn of the Data Breach and, thus,

AMCA was first of the Defendants to breach its duty to disclose the Data Breach. While the

relevant services are provided throughout the United States, so no one specific location is the

dominant site of all common facts, the fact that the Data Breach occurred through AMCA’s system

argues forcefully for New York being the dominant site of the most relevant occurrence.

       In addition, Defendant Quest, which first disclosed the Data Breach through an SEC filing,

is headquartered in the Southern District of New York. As that filing disclosed, the Data Breach

compromised some 11.9 million of Quest’s patients’ records.

       The fifth factor favors the Southern District of New York given that AMCA and Quest are

headquartered there, and that District likely is where the most important witnesses and evidence

will be located.

       The sixth factor favors Judge Roman, who is an experienced and capable judge, and was

assigned to the earliest filed case in the Southern District of New York, the Worthey action. Judge

Karas, who presides over the Guttierez action, already presides over one MDL, IN RE: Ford

Fusion and C-Max Fuel Economy Litigation, MDL No. 2450. Otherwise, this factor is neutral as

between the Central District of California and the Southern District of New York, given that both

Districts have many experienced judges capable of handling a complex MDL actions such as this,

both Districts regularly manage such actions, and both currently have a significant number of such

actions pending.




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       When considered together, these factors support transfer and centralization in the Southern

District of New York.

III.   CONCLUSION

       For the foregoing reasons, Plaintiff respectfully requests that her motion be granted and

that the Panel order transfer of the Actions listed in the attached Schedule of Actions, plus any

future tag-along actions, to the Southern District of New York, before Judge Nelson S. Roman, for

consolidated pretrial proceedings in accordance with 28 U.S.C. § 1407.



                                            Respectfully submitted,

Dated: June 4, 2019                         AHDOOT & WOLFSON, PC

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                          and the Putative Classes




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